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            Exhibit 
                                                                                               o>Uco'itTiD19ro'N"fHra·
                                                                                                            IN"C. CODE
                                                                                                                       -, PEORIA POLICE DEPARTMENT
                                                                                                1:23-cv-01184-CRL-JEH # 318-27 Filed: 04/22/24 Page 2 of 3
                                                                                                                                          DATE OF THtS ,REPORT                                            CLASSIFICATION      INCmENT COOi:. CHJliNGE
                                                                                                                                                                                                                                                                                                77- 1588
                                                                                                            !}) t,J,,-;)._              20 January 1977                                                   0 0 0               FROM                      TO
                                                                                                                                                                                                          CHANGE NE'EDED
                                                                           NAME ANDtCA AL1"4S                                                                     ADDFU.SS tNO•• CITY, STATE, ZIP-I                                                                                                                REF.

                                                                            Police and Public                                                                   542 SW Adams Street
                                                                                                                                                                                                                                                                                 REDACTED
                                                                            Ivora R. Rudd                                                                       616 Paris Street                                                               685-6400


 SEC. A:    A-Ann1td       B-BuliMK, firm, Agfflcy      C:-Comp1'■1tafJt    GA-Bil,tl"'MIH   M-Mi•111ng, Aun.rw•v   P-P~1111. GUilrdian    S-Su1pea.    V-YiQ.im     W-WitneK      D-Otlwr CNar,J

 SEC. B:    K-De1d 8-efore Ftil'port    0-No Indication ot tnju,v   A-BlHding, Cer,rried lrom Sce-ne    B--Vl1ible- Injury   C-Net \hsible Injury, Morneriurv Uricomeioos, Cofflpl.ain of Paiin

 SIEC. C:   S-Sober     D-0.in, Drinking     l-lnlcnd~1«1Nndll'I' •nnuenc,     0-0it.r !Dncribl in N.1,rJ

 SIEC. D:   M-Mall     F-F1m11,        U-Un-known   I W-WfM• N-N19ro M-M1:iiiClll'I
                                         HAIR •DESCJ                                                                                                                                                                                                         tDENTIF•A&lE PHYSICAL CHAR,A,CTEFUS ICS




                                                                                                                                                                                                                                                                                                            CODE




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lAB                                                                                                                                                1PATflOL SGT.                                    .. :COAONtA.                           1 0THER
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                                                                                                                                                   I                                                 I

                                                                                                                                                                                                     ''
       CONTINUATION                                                 NARRATIVE:
        SHEET ONLY                             □
                        Above named ·subject RUDD is a Senior enrolled at woodruff "High· _School and a cou•sin to -w1LLIAM
                        DOUGLAS the· stepfather of victims this incident. ·RUDD came into the Lais.ion Office at Wood-·
                        ru:ff i h S hool ·a-nd volunteer~d the follovJin · iriformatio·n: about a wee  UDO was· sho
                        in the Northwoods Mall and after seeing the deceased victim CONNIE COOPER they stopped

                        threatening telephone calls from a Afro-american male whose name is not kriown as of this
1-----TZJ-rn-,,rt-;,,rn-:---"l""t-r+.:::-1Tn1....,..,P'TID'n--nr::r-h:>-nr.:n-r+i::rr+--FT'V\1~Er-+n--h...-cr:nr-.-rfi-=-l-....,,,.,.--r-a-==1-=+±on-shri1:r\1r±1;h--elWW~--Wk'f"f'5r----j
                        and she refused.                                                 COOPER at this point advised RUDD that the caller informed her that he
                        would get                                                                   e sorry
                        him.


                        that she only knew he was suppose to drive a blue Dodge. RUDD stated that she felt WATTS
                                                             ±g~t--+..o-c.----------------------------------------l

                                                    po1.n
       CAN OFFENDER            1lYWHQM                                        R'EPORTING OFflCER lflAINT, TYPEI                                                REPORTING OFFICIEft {PRINT, TYPE~                   11.0.NO.
      [!]             @]        '                                                                                                                                                                                  I

                               :'
                               I                                                                                                                                                                                   I
        BE IDENTIFIED
EXTRA 00-Pll:S   ro                                                           SIGNATURE




                                                                                                                                                                                                                                                     PEORIA_SAVORY 118
     Page                                             Pages                                                                                                                                                          D Flash Message
 ----------------
 ]   ATTACH PROPERTY TAG HERE I
                                1:23-cv-01184-CRL-JEH # 318-27 Filed: 04/22/24 Page 3 of 3
                                                                                                                                                                                                                     0 LEADS/NCIC lnqiJi~
                                                                                                                                                                                                                     0 LEADS/NCIC Entry
 I                                                                                I                                                                                                                                  D License Inquiry
 I                                                                                I                                                                                                                                  D lnter.bept. Requests
 I                                                                                I                                                                                                                                  D Other Communication
 I                                                                                I. ..                                                                                                                              D Caiicellation .Made
 I                                                                                I
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 I                                                                                I
 I                                                                                l
;.:.l_ _ _       __,__......,u,__...........,......,~,.._-,....__.=.J.__,~'--'--........__...~-:J--'"""'--=d-T:raubJ e Mao.                                        He won't let nobody but Scop,~·1.-e.~-U-1..l..{,;,H---H--,j~-------1
l         Ask is Peter (WILLIAM :DOUGLAS) able to control the dog.                    Because they had to get bybthe dog. 11
~1:---~:~~~c~o~p~y~~oTfF-~t~h~i~s--n-o""'"'tc-ar the origiftftl is att-e.ch~d to the CID pink copy-o·4f-----t~h~1~·-s--r~e,-........+-.--------~

 I                                                                            a   rom a :Ring wi             ea t'J.ng                                                                                                l.SCUSS         l.S
 I                 incident they                                           thqt WILLIAM DOUGLAS was responsible for                                                                                                   RUDD      how-



1------&:u.JJ..LL.....J....L...uJ..1.C1..J._~LJ...;ui...J.l..1£;iL...J...Ji...u.u......L...J..L1.JLU-.l/¥..l.l.l..ll.J..LJ..l..,L...L.-...a..1..Yu..-....;)chool   I   French-Xeach~~T~I~N'h*~·nn~£~0Hrrtmwe~g---:i:r11-a1a--&-------1
                  officer that when decedent COOPER resided on Rice Street she had been her home-tutor durin_g
                                                      ,
                  stated. that COOPER in.formed her tl'!at ·-she. wa~ ·pregant' by a. gymnast back East.




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                                                                                                                                                                                                                                        '


                                                                                                                                                                                          PEORIA_SAVORY 119
